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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                                      No. 21cr992 MV

ISAAC THOMPSON,

       Defendant.

                              ORDER DENYING MOTION
                    TO RELEASE DEFENDANT FROM CUSTODY INTO A
                       RESIDENTIAL REHABILITATION PROGRAM

       Defendant Isaac Thompson asks the Court to reconsider its order detaining him as a flight

risk and danger to the community. Doc. 22. Mr. Thompson was recently admitted to Darrin’s

Place, a ninety-day residential treatment program. Id. ¶ 5. He has an admission date of November

2, 2021.1 Id. He states that he is addicted to alcohol, heroin and methamphetamine and he is

serious about rehabilitating himself and staying drug free. Id. ¶¶ 3, 5. The United States opposes

the motion. Doc. 23.

       Defendant has been indicted for felon in possession of a firearm and ammunition in

violation of 18 U.S.C. §§ 922(g)(1) and 924. Doc. 2. Defendant waived his right to a detention

hearing, and the Court issued a detention order, finding that the following factors indicate that

Defendant’s release would create a risk of flight and a danger to the community: (1) Weight of

evidence against Defendant is strong; (2) Defendant subject to lengthy period of incarceration if

convicted; (3) Defendant has extensive prior criminal history; (4) Defendant participated in



1The United States filed its response on November 5, 2021, within its response deadline but after
the date Defendant requested to be released to Darrin’s Place. The Court assumes space at
Darrin’s Place remains available and so Defendant’s motion is not moot.
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criminal activity while on probation, parole, or supervision; (5) Defendant has a history of

violence or use of weapons; (6) Defendant has a history of alcohol or substance abuse; (7)

Defendant has a lack of stable employment; and (8) Defendant has prior violations of probation,

parole, or supervised release. Docs. 16 & 17.

        A defendant may be detained pending trial if the Court finds that “no condition or

combination of conditions will reasonably assure the appearance of the person as required and

the safety of any other person and the community.” 18 U.S.C. § 3142(e)(1). When making that

determination, the Court considers: (1) the nature and circumstances of the offense charged, (2)

the weight of the evidence against the person, (3) the history and characteristics of the person,

and (4) the nature and seriousness of the danger to any person or the community that would be

posed by the person’s release. 18 U.S.C. § 3142(g). “The [detention] hearing may be reopened,

before or after a determination by the judicial officer, at any time before trial if the judicial

officer finds that information exists that was not known to the movant at the time of the hearing

and that has a material bearing on the issue whether there are conditions of release that will

reasonably assure the appearance of such person as required and the safety of any other person

and the community.” Id. § 3142(f)(2).

        The Court considers what Defendant has presented as new information, but it does not

significantly change the Court’s evaluation of his dangerousness or flight risk. The Court

continues to be concerned about the same factors that caused it to order Defendant’s detention on

August 9, 2021. Defendant has failed to appear for multiple court hearings over the past five

years and his performance while on probation during this time has been marked by numerous

violations. See Presentence Report (Doc. 11). Indeed, in 2019, Defendant was sentenced to

imprisonment in connection with multiple felony offenses and was on probation when law




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enforcement arrested him in connection with the instant offense. Given this history, the new

information in Defendant’s motion does not change the Court’s assessment as to whether

Defendant is a flight risk and a danger to the community. The Court continues to find Defendant

should be detained for the same reasons as the original detention decision. Even considering the

combination of all conditions of release potentially available, probable cause exists that

Defendant presents a risk of flight and clear and convincing evidence exists that Defendant is a

danger to the community.

       Accordingly, the Court DENIES Defendant’s motion for release.

       IT IS SO ORDERED.



                                                      ___________________________________
                                                      UNITED STATES MAGISTRATE JUDGE




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